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                      IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ALASKA

 JOHNATHAN PLATT,

                 Plaintiff,

         v.

 UNITED STATES OF AMERICA,

                 Defendant.


 UNITED STATES OF AMERICA,

                 Third Party Plaintiff,

         v.

 DARLENE DUNN,
                                               Case No.: 3:19-cv-00086-JWS
                 Third Party Defendant.


                STIPULATION TO EXTEND PRETRIAL DEADLINES

        Third-Party Defendant Darlene Dunn, and Plaintiff, Johnathan Platt, and

  Defendant/Third-Party Plaintiff United States of America, hereby stipulate to and request


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  the Court Order a sixty (60) day extension of pretrial deadlines as follows for the reason

  the parties have actively engaged in discovery, conducting two weeks of depositions

  November 8-18, 2021, and other depositions have been required to be postponed until

  January, and as such, the parties recognize the need for additional time:

        • Final Discovery Witness List                         February 8, 2022

        • Close of Discovery                                   March 21, 2022

        • Close of Expert Witness Discovery                    March 21, 2022

        • Close of Fact Discovery                              March 21, 2022

        • Discovery Motions                                    June 22, 2022

        • Motions to Exclude Expert Testimony                  June 22, 2022

        • Dispositive Motions                                   July 25, 2022


        Counsel for the Plaintiff Johnathan Platt and Defendant/Third-Party Plaintiff United

  States of America have authorized counsel for the Third-Party Defendant to sign this

  stipulation on their behalf.



                                                  HOFFMAN & BLASCO, LLC


Dated: November 29, 2021                   By:    /s/ Robert P. Blasco
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                                                 Attorneys for Defendant Darlene Dunn
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Dated: November 29, 2021                   By:    /s/ William D. Cook (consent)
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                                               Fax: (717) 517-8844
                                               Attorneys for Plaintiff


CERTIFICATE OF SERVICE

The undersigned certifies that on November 29, 2021, a true and
correct copy of the foregoing STIPULATION TO EXTEND
PRETRIAL DEADLINES was served on the following parties
of record via ECF:

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        /s/ Robert P. Blasco
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